Case 9:20-md-02924-RLR Document 7221 Entered on FLSD Docket 02/09/2024 Page 1 of 23




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION



    IN RE: ZANTAC (RANITIDINE)                                               MDL NO. 2924
    PRODUCTS LIABILITY LITIGATION                                             20-MD-2924

                                                           JUDGE ROBIN L. ROSENBERG
    ________________________________/                      MAGISTRATE JUDGE BRUCE E.
                                                           REINHART

    THIS DOCUMENT RELATES TO:

    Wilson v. Boehringer Ingelheim Pharmaceuticals, Inc., No. 9:24-cv-80045-RLR


              THE REMOVING DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
                  MOTION TO REMAND PURSUANT TO 28 U.S.C. § 1447



    DATED: February 9, 2024
Case 9:20-md-02924-RLR Document 7221 Entered on FLSD Docket 02/09/2024 Page 2 of 23




                                                    TABLE OF CONTENTS

                                                                                                                                          Page

    I.     INTRODUCTION .............................................................................................................. 0

    II.    FACTUAL BACKGROUND ............................................................................................. 1

    III.   ARGUMENT ...................................................................................................................... 3

           A.        Legal Standard ........................................................................................................ 4

           B.        Plaintiff Has No Possibility of Recovering Against Publix Based on the
                     Record ..................................................................................................................... 5

           C.        Plaintiff Has No Intent to Prosecute His Claim Against Publix ............................. 8

           D.        The Removal Is Timely ........................................................................................ 12

                     1.         The One-Year Bar on Removals Does Not Apply.................................... 12

                     2.         The Removal Was Timely Filed Within 30 Days of Plaintiff’s
                                Experts’ Depositions ................................................................................. 14

           E.        Attorneys’ Fees and Costs Are Not Warranted Because the Removing
                     Defendants Had an Objectively Reasonable Basis to Remove............................. 16

    IV.    CONCLUSION ................................................................................................................. 16




                                                                     -i-
Case 9:20-md-02924-RLR Document 7221 Entered on FLSD Docket 02/09/2024 Page 3 of 23




                                                  TABLE OF AUTHORITIES

                                                                                                                                Page(s)

    Cases

    Aguayo v. AMCO Ins. Co.,
       59 F. Supp. 3d 1225, 1263 (D.N.M. 2014) ........................................................................13, 14

    In re Avandia Mktg., Sales Pracs & Prods. Liab. Litig.,
        2014 WL 2011597 (E.D. Pa. May 15, 2014) ...........................................................................10

    Bennett v. Ford Motor Co.,
       2007 WL 4561281 (W.D. Ky. Dec. 21, 2007) .............................................................10, 11, 14

    In re Briscoe,
        448 F.3d 201 (3d Cir. 2006).......................................................................................................9

    Whitehead ex. rel. Brooks v. Southerland, Inc.,
       2023 WL 2766012 (N.D. Ga. Mar. 31, 2023)............................................................................8

    Carter v. Hector Supply Co.,
       128 So. 2d 390 (Fla. 1961).........................................................................................................8

    CH2M Hill Se., Inc. v. Pinellas Cnty.,
      598 So. 2d 85 (Fla. 2d DCA 1992) ............................................................................................8

    Cousins v. Wyeth Pharm., Inc.,
       2008 WL 1883932 (N.D. Tex. Apr. 18, 2008) ........................................................................14

    Davis v. Merck & Co.,
       357 F. Supp. 2d 974 (E.D. Tex. 2005) .....................................................................................10

    In re Diet Drugs (Phentermine, Fenfluramine, Dexfenfluramine) Prods. Liab.
        Litig.,
        220 F. Supp. 2d 414 (E.D. Pa. 2002) .......................................................................................10

    Faulk v. Husqvarna Consumer Outdoor Prods. N.A., Inc.,
       849 F. Supp. 2d 1327 (M.D. Ala. 2012) ..............................................................................9, 10

    Fowler v. Wyeth,
       2004 WL 3704897 (N.D. Fla. May 14, 2004) ...........................................................................6

    Ganey v. Goodings Million Dollar Midway, Inc.,
       360 So. 2d 62 (Fla. 1st DCA 1978) .........................................................................................16

    Holland v. CSX Transp., Inc.,
       2021 WL 4448305 (S.D. W.Va. Sept. 28, 2021) ...............................................................13, 14


                                                                    - ii -
Case 9:20-md-02924-RLR Document 7221 Entered on FLSD Docket 02/09/2024 Page 4 of 23




    Illoominate Media, Inc. v. CAIR Fla., Inc.,
        841 F. App’x 132 (11th Cir. 2020) ............................................................................................5

    Ingram v. Forbes Co.,
       2013 WL 1760202 (M.D. Fla. Apr. 24, 2013) ...................................................................14, 15

    Jackson v. H.L. Bouton Co.,
       630 So. 2d 1173 (Fla. 1st DCA 1994) .......................................................................................8

    K-Mart Corp. v. Chairs, Inc.,
       506 So. 2d 7 (Fla. 5th DCA 1987) .............................................................................................9

    Keller Logistics Grp., Inc. v. Navistar, Inc.,
       391 F. Supp. 3d 774 (N.D. Ohio 2019)....................................................................................14

    Klose v. Coastal Emergency Servs. of Fort Lauderdale, Inc.,
       673 So. 2d 81 (Fla. 4th DCA 1996) ...................................................................................15, 16

    Legg v. Wyeth,
       428 F.3d 1317 (11th Cir. 2005) .............................................................................................5, 6

    Long v. Wyeth,
       2003 WL 25548421 (M.D. Fla. May 13, 2003) ...............................................................5, 9, 10

    Marking v. Novartis Pharms. Corp.,
      2002 WL 32255405 (S.D. Fla. Feb. 12, 2002) ......................................................................6, 7

    Marshick v. Johnson & Johnson,
      2015 WL 9266955 (M.D. Fla. Dec. 11, 2015) ...........................................................................6

    Martin v. Franklin Cap. Corp.,
      546 U.S. 132 (2005) .................................................................................................................17

    McCasland v. Pro Guard Coatings, Inc.,
      799 F. App’x 731 (11th Cir. 2020) ............................................................................................6

    McNeal v. Found. Radiology Grp., P.C.,
      2022 WL 3010694 (E.D. Mich. July 29, 2022) .......................................................................14

    Michael H. Bloom, P.A. v. Dorta-Duque,
       743 So. 2d 1202 (Fla. 3d DCA 1999) ........................................................................................8

    Omni Nat’l Bank v. Nations Title Agency, Inc.,
      2006 WL 8433532 (N.D. Ga. Sept. 5, 2006) .............................................................................8

    In re Propulsid Prods. Liab. Litig.,
        2007 WL 1668752 (E.D. La. June 6, 2007) .............................................................................14



                                                                    - iii -
Case 9:20-md-02924-RLR Document 7221 Entered on FLSD Docket 02/09/2024 Page 5 of 23




    Russell v. Beddow,
       82 So. 3d 996 (Fla. 1st DCA 2011) ...........................................................................................5

    Ryan v. Atl. Fertilizer & Chem. Co.,
       515 So. 2d 324 (Fla. 3d DCA 1987) ..........................................................................................8

    Sellers v. Foremost Ins. Co.,
        924 F. Supp. 1116 (M.D. Ala. 1996) .........................................................................................5

    Shannon v. Albertelli Firm, P.C.,
       610 F. App’x 866 (11th Cir. 2015) ........................................................................................6, 8

    Triggs v. John Crump Toyota, Inc.,
        154 F.3d 1284 (11th Cir. 1998) ...........................................................................................5, 10

    Wax v. Tenet Health Sys. Hosps., Inc.,
      955 So. 2d 1 (Fla. 1st DCA 2006) ...........................................................................................16

    Webster v. Martin Mem’l Med. Ctr., Inc.,
      2009 WL 7770772 (Fla. Cir. Ct. May 14, 2009) .......................................................................7

    Whitehead ex. rel. Brooks v. Southerland, Inc.,
       2023 WL 2766012, (N.D. Ga. Mar. 31, 2023).......................................................................8, 9

    Wilson v. Jacks,
       310 So. 3d 545 (Fla. 1st DCA 2021) .........................................................................................8

    In re Zantac (Ranitidine) Prods. Liab. Litig.,
        2021 WL 2685605 (S.D. Fla. June 30, 2021) ..........................................................................12

    In re Zantac (Ranitidine) Prods. Liab. Litig.,
        510 F. Supp. 3d 1234 (S.D. Fla. 2020) ................................................................................7, 11

    In re Zoloft (Sertraline Hydrochloride) Prods. Liab. Litig.,
        257 F. Supp. 3d 717 (E.D. Pa. 2017) .......................................................................................10

    Statutes

    28 U.S.C. § 1446 ......................................................................................................................13, 15

    28 U.S.C. § 1447 ..............................................................................................................................1




                                                                        - iv -
Case 9:20-md-02924-RLR Document 7221 Entered on FLSD Docket 02/09/2024 Page 6 of 23




           Defendants GlaxoSmithKline LLC, GlaxoSmithKline Holdings (Americas) Inc., Pfizer

    Inc., Boehringer Ingelheim Pharmaceuticals, Inc., Boehringer Ingelheim Corporation, Boehringer

    Ingelheim USA Corporation, Sanofi US Services Inc., and Sanofi-Aventis U.S. LLC (collectively,

    the “Removing Defendants”) submit this Opposition to Plaintiff’s Motion to Remand Pursuant to

    28 U.S.C. § 1447.

    I.     INTRODUCTION

           Diversity jurisdiction exists here. Plaintiff’s only claim against non-diverse defendant

    Publix Super Markets, Inc. (“Publix”) is a negligence count asserting that the retailer improperly

    stored and transported Zantac (ranitidine) despite knowing that the drug can degrade in hot and

    humid conditions. But Plaintiff failed to develop that claim during discovery. Despite a full

    opportunity to make out a case, Plaintiff presented no expert opinion —as Florida law requires—

    that Publix’s alleged negligence caused his injury. Nor did Plaintiff obtain any case-specific fact

    discovery concerning Publix, relying solely on general discovery taken in this MDL—discovery

    that failed to save similar negligent storage and transport claims from dismissal. Unsurprisingly,

    then, Plaintiff’s remand motion presents no evidence to support his argument that he has a

    possibility of recovery on the negligence claim against Publix.

           Without any such evidence, Plaintiff falls back on procedural arguments about the

    timeliness of the removal. But the case was timely removed within thirty (30) days after the last

    of Plaintiff’s causation experts was deposed and disclaimed any opinion as to Publix. The one-

    year bar on removal also does not apply, because Plaintiff acted in bad faith to prevent removal.

    Not only did Plaintiff fail completely to prosecute his claim against Publix, but he voluntarily

    dismissed identical negligence claims against two diverse retailers even though he allegedly

    bought Zantac from them just as with Publix. In short, it could not be clearer on this record that
Case 9:20-md-02924-RLR Document 7221 Entered on FLSD Docket 02/09/2024 Page 7 of 23




    Plaintiff’s naming of Publix was a sham aimed solely at destroying diversity jurisdiction.

    Accordingly, the Court should deny Plaintiff’s Motion to Remand.

    II.    FACTUAL BACKGROUND

           On January 12, 2022, Plaintiff Edward Wilson filed this product liability lawsuit in the

    Circuit Court in and for Hillsborough County, Florida, alleging that his Zantac use caused him to

    develop prostate cancer. See generally Compl. [Dkt. 1-3]. 1 Plaintiff named as defendants (1) the

    Removing Defendants that marketed Zantac, and (2) the three retailers—Publix, Dolgencorp, LLC

    d/b/a Dollar General (“Dollar General”), and Walgreen Co. d/b/a Walgreens (“Walgreens”)—

    where Plaintiff allegedly purchased Zantac. Publix was the only non-diverse defendant.

           On March 9, 2023, Plaintiff filed an amended complaint. See Second Am. Compl. [Dkt.

    13-12]. 2 Despite representing that he had purchased Zantac from Publix, Dollar General, and

    Walgreens in discovery, 3 Plaintiff dropped the diverse retailers Dollar General and Walgreens

    from the complaint—leaving Publix as the only retailer defendant. Plaintiff asserted only one


    1
     Citations to the U.S. District Court for the Middle District of Florida docket, No. 8:23-cv-02865,
    where this case was removed and where Plaintiff’s Motion to Remand was filed, are designated
    [Dkt. ##].
    2
      Plaintiff also filed an amended complaint on October 21, 2022, alleging claims of products
    liability – breach of warranty of merchantability, negligence, and strict liability against Publix,
    Dollar General, and Walgreens. See Am. Compl. ¶¶ 316–321 [Dkt. 13-10]. But the products
    liability and strict liability claims against Publix were dropped in the Second Amended Complaint,
    filed on March 9, 2023.
    3
      Pl.’s Objs. & Answers to Def. Sanofi-Aventis U.S. LLC’s First Set of Interrog. No. 1 [Dkt. 1-6
    at 2246] (“I purchased Zantac 75 Zantac Extra Strength and OTC Zantac. I don’t recall when I
    made the purchases for these products other than it was purchased between the year 2000 and 2019
    at Dollar General, Walgreens, and Publix in Florida.”); 3/7/23 Wilson Dep. at 180:8–10 [Dkt. 1-
    2] (“Q. You said you purchased [Zantac] at Dollar General, Walgreens, and Publix, right? A.
    Yeah.”); id. at 222:22–223:6 (“Q. Can you recall the locations of any Walgreens stores where
    you’ve purchased Zantac? A. It would be also—it’s not that far from me. It’s right there on 301
    South also, the Walgreens on 301 . . . on that corner of 301 and Big Bend . . . . Q. Do you know
    the locations of any Dollar Generals where you purchased Zantac? A. It’s also near Big Bend and
    301.”).


                                                   -1-
Case 9:20-md-02924-RLR Document 7221 Entered on FLSD Docket 02/09/2024 Page 8 of 23




    claim against Publix: that it was “negligen[t] in shipping, transporting, distributing, and storing

    OTC Zantac.” Third Am. Compl. ¶ 257 [Dkt. 1-1]. 4 According to Plaintiff, Publix knew or should

    have known that ranitidine degrades into N-Nitrosodimethylamine (“NDMA”)—a potential

    human carcinogen—under high heat and humidity conditions, see id. ¶¶ 259–274, but failed to

    store and transport the drug properly. Id. ¶¶ 275, 277, 278, 281–285.

           The parties continued to litigate the case. During fact discovery, Plaintiff served just one

    set of interrogatories and one set of requests for production on Publix, asking for general

    information about company policies.       See Pl.’s Interrogs. [Dkt. 13-16]; Pl.’s Request for

    Production [Dkt. 13-17]. In response, Publix referred Plaintiff to discovery completed in the

    Zantac MDL but produced no additional documents in Plaintiff’s case. See Publix’s Answer to

    Interrogs. [Dkt. 13-18]; Publix’s Response to Request for Production [Dkt. 13-19]. At no point

    did Plaintiff follow up on the responses or seek case-specific discovery from Publix, e.g.,

    information about the storage conditions at the individual Publix store where he alleges to have

    purchased Zantac or the Publix trucks that shipped drugs to that location. Nor did Plaintiff seek

    any deposition from any Publix witness specific to the facts of this case. Fact discovery then

    closed on November 27, 2023. See Order Entering Third Am. Case Mgmt. Order (Oct. 11, 2023)

    [Dkt. 1-6 at 2530–2532].

           On September 5, 2023, Plaintiff disclosed three medical experts to testify that ranitidine

    caused Plaintiff’s prostate cancer: Drs. Matthew N. Simmons, Steven B. Bird, and Robert M.

    Conry. See Pl.’s Expert Witness Disclosures [Dkt. 13-21]. Between October 16 and November




    4
     On September 12, 2023, Plaintiff filed a Third Amended Complaint against the same defendants.
    See Third Am. Compl. [Dkt. 1-1]. The allegations against Publix in the Second and Third
    Amended Complaints are identical.


                                                   -2-
Case 9:20-md-02924-RLR Document 7221 Entered on FLSD Docket 02/09/2024 Page 9 of 23




    14, 2023, Removing Defendants deposed Drs. Simmons, Bird, and Conry. Each expert expressly

    disclaimed having any causation opinion with respect to Publix. Dr. Simmons testified:

           Q:      Dr. Simmons, are you planning to offer any testimony in this case with
                   regard to any action or inaction by Publix Super Markets?

           A:      No.

           Q:      Have you formed any opinions with regard to Publix Super Markets, its
                   actions or inactions, in connection to this case?

           A:      I have not thought about that.

    Simmons Dep. at 364:6–17 [Dkt. 1-2].

           Dr. Bird testified:

           Q:      Have you formed any opinions with respect to any action or inaction done
                   by Publix Super Markets in this case?

           A:      Publix Super Markets, no, I have no opinion.

    Bird Dep. at 540:19–541:1 [Dkt. 1-2].

           And Dr. Conry testified:

           Q:      Dr. Conry, are you offering any opinions in this case with respect to any
                   action or inaction by Publix supermarkets?

           A:      No ma’am.

           Q:      Have you formed any such opinion?

           A:      No.

    Conry Dep. at 375:3–10 [Dkt 1-2]. The Removing Defendants then removed the case on

    December 14, 2023, within thirty (30) days of Dr. Conry’s deposition.

    III.   ARGUMENT

           Publix is fraudulently joined and its citizenship should be ignored. Although Plaintiff may

    have pled a viable state court negligence claim against Publix for “negligence in shipping,

    transporting, distributing, and storing OTC Zantac,” see Third Am. Compl. ¶ 257 [Dkt. 1-1], he



                                                    -3-
Case 9:20-md-02924-RLR Document 7221 Entered on FLSD Docket 02/09/2024 Page 10 of 23




    cannot possibly succeed on that claim because with his discovery now complete, he has no

    evidentiary support for the negligence claim against Publix.

            A.      Legal Standard

            As the Eleventh Circuit has explained, the “removal process was created by Congress to

    protect defendants. Congress did not extend such protection with one hand, and with the other

    give plaintiffs a bag of tricks to overcome it. . . . Federal courts . . . should be equally vigilant to

    protect the right to proceed in the Federal court.” Legg v. Wyeth, 428 F.3d 1317, 1325 (11th Cir.

    2005) (citations and quotation marks omitted). “Fraudulent joinder is a judicially created doctrine

    that provides an exception to the requirement of complete diversity.” Triggs v. John Crump

    Toyota, Inc., 154 F.3d 1284, 1287 (11th Cir. 1998). A non-diverse defendant is fraudulently joined

    where there is no “possibility, based on this record, that [the plaintiff] can establish a cause of

    action . . . against” that defendant. Legg, 428 F.3d at 1324. As an alternative basis for fraudulent

    joinder, courts consider whether—even if a claim theoretically might have merit—the plaintiff has

    a “real intention to get a [] judgment” against the non-diverse party. Triggs, 154 F.3d at 1291;

    Long v. Wyeth, 2003 WL 25548421, at *2 (M.D. Fla. May 13, 2003) (“Celltech Pharmaceuticals

    is a sham defendant in this action and has been fraudulently joined because [plaintiffs] do not

    ‘inten[d]’ to pursue a judgment.” (citing Triggs, 154 F.3d at 1291)).

           When a claim of fraudulent joinder is “based on lack of evidence, a plaintiff . . . must be

    able to provide some showing that her claim against the [non-diverse] defendant has evidentiary

    support.” Sellers v. Foremost Ins. Co., 924 F. Supp. 1116, 1119 (M.D. Ala. 1996). In those

    circumstances, the process “for resolving a claim of fraudulent joinder is similar to that used for

    ruling on a motion for summary judgment.” Legg, 428 F.3d at 1322–23; Illoominate Media, Inc.

    v. CAIR Fla., Inc., 841 F. App’x 132, 135 (11th Cir. 2020) (same). That determination is “based

    upon the plaintiff’s pleadings at the time of removal, supplemented by any affidavits and


                                                     -4-
Case 9:20-md-02924-RLR Document 7221 Entered on FLSD Docket 02/09/2024 Page 11 of 23




    deposition transcripts submitted by the parties.” Legg, 428 F.3d at 1322 (emphasis in original;

    citation omitted). Thus, when a defendant presents evidence supporting a finding of fraudulent

    joinder, “the plaintiff generally must come forward with some evidence to dispute [it].” Shannon

    v. Albertelli Firm, P.C., 610 F. App’x 866, 871 (11th Cir. 2015); Fowler v. Wyeth, 2004 WL

    3704897, at *4 (N.D. Fla. May 14, 2004) (“Once [defendant] presented [evidence] to the Court,

    Plaintiffs could not continue to rely upon their unsupported allegations in the complaint. Plaintiffs

    had to put forward specific evidence to refute [defendant’s evidence].” (citation omitted)).

           B.      Plaintiff Has No Possibility of Recovering Against Publix Based on the Record

           Plaintiff has no possibility of prevailing against Publix because he has no evidence

    whatsoever that Publix’s negligence caused his injury.

           Florida law requires expert testimony to prove causation in cases like this, “where a jury is

    asked to assess complex medical or scientific issues outside the scope of a layperson’s knowledge.”

    McCasland v. Pro Guard Coatings, Inc., 799 F. App’x 731, 733 (11th Cir. 2020) (addressing

    Florida law); id. at 733–34 (affirming summary judgment for defendant manufacturer, including

    on negligence claim, because plaintiff “failed to offer any expert testimony to establish . . . that

    [the product] did in fact cause his medical condition”). 5 Yet Plaintiff’s experts affirmatively

    disclaimed having any causation opinions with respect to Publix. See supra pp. 3–4. He therefore

    has no expert to testify that Publix’s alleged negligence caused Plaintiff’s injuries: no expert

    opines that Publix’s negligence caused NDMA to form in the Zantac he allegedly ingested, and no


    5
      See also, e.g., Marking v. Novartis Pharms. Corp., 2002 WL 32255405, at *3 (S.D. Fla. Feb. 12,
    2002) (“Plaintiffs are required to introduce expert testimony to establish medical causation.”)
    (applying Florida law); Marshick v. Johnson & Johnson, 2015 WL 9266955, at *4 (M.D. Fla. Dec.
    11, 2015) (“[Plaintiff] must have expert testimony on medical causation or her claims will fail.”)
    (applying Florida law); Russell v. Beddow, 82 So. 3d 996, 998 (Fla. 1st DCA 2011) (explaining
    that expert proof is required when the cause of plaintiff’s injury is “not within the province of the
    jury” (quotation marks and citation omitted)).


                                                    -5-
Case 9:20-md-02924-RLR Document 7221 Entered on FLSD Docket 02/09/2024 Page 12 of 23




    expert opines that, as a result of Publix’s negligence, NDMA was formed in sufficient quantity to

    cause his cancer. Without that expert testimony, Plaintiff cannot establish a negligence claim

    against Publix. See, e.g., Webster v. Martin Mem’l Med. Ctr., Inc., 2009 WL 7770772 (Fla. Cir.

    Ct. May 14, 2009) (granting summary judgment because “Plaintiffs’ own experts’ testimony

    shows that they simply cannot prove the causation element of this case”); Marking, 2002 WL

    32255405, at *3 (“Summary judgment has been granted when . . . the plaintiff is left with no expert

    on which to rely for medical causation.”).

            Nor does Plaintiff have any evidence that Publix negligently stored or transported the

    ranitidine that he actually used. Plaintiff failed to take any case-specific discovery of Publix, see

    infra p. 3, and as such, presented no such evidence in support of his remand motion. Without any

    evidence supporting his liability theory against Publix—expert or otherwise—Plaintiff cannot

    possibly recover against Publix. Plaintiff’s reliance on the Zantac, Fransas, and Waters cases—

    cited at Mot. at 4, 5—misses the mark. Those cases assessed whether the plaintiffs pled a viable

    action against the retailers. This case is very different: the Removing Defendants do not contend

    that Plaintiff has insufficiently pled his storage and transport claim. The issue is whether Plaintiff

    can recover on that claim when he has adduced no evidence of Publix’s negligence after discovery

    has concluded in his state court action. He cannot.

            Plaintiff nevertheless argues that he can proceed against Publix without experts because

    Publix is “passively or vicariously liable as a seller in the stream of commerce.” Mot. at 7, 15.

    This argument fails for two reasons. First, Plaintiff did not bring a claim against Publix based on

    its role in the chain of distribution. Although Plaintiff originally asserted a claim for strict liability

    against Publix, see Mot. at 10 and Compl. ¶¶ 169–174 [Dkt. 1-3], Plaintiff dropped that claim in

    the Second Amended complaint, see Mot. at 10 and Second Am. Compl. [Dkt. 13-12]. The




                                                      -6-
Case 9:20-md-02924-RLR Document 7221 Entered on FLSD Docket 02/09/2024 Page 13 of 23




    operative Third Amended Complaint instead asserts a specific type of negligence claim against

    Publix: that the retailer improperly stored and transported Zantac despite knowing the drug can

    degrade into NDMA in hot and humid conditions. See supra p. 1. On its face, this claim is based

    on allegations of active negligence on Publix’s part, not that Publix passively participated in the

    chain of distribution. At this advanced stage in the case, Plaintiff cannot fall back on the different

    and never-pled theory that Publix’s status as part of the chain of distribution renders it strictly

    liable. See, e.g., Michael H. Bloom, P.A. v. Dorta-Duque, 743 So. 2d 1202, 1203 (Fla. 3d DCA

    1999) (“It is well settled that a defendant cannot be found liable under a theory that was not

    specifically pled.”). 6

            Second, in Florida, a claim for negligence against a retailer “requires . . . proof of fault.”

    Carter v. Hector Supply Co., 128 So. 2d 390, 393 (Fla. 1961). “[A] retailer could be held liable

    . . . in a negligence action . . . only if the retailer could be charged with actual or implied knowledge

    of the defect.” Id. at 392 (emphasis omitted). 7 The time for Plaintiff to develop proof of actual or

    constructive knowledge was in discovery; the time to present it was with the remand motion. See,

    e.g., Omni Nat’l Bank v. Nations Title Agency, Inc., 2006 WL 8433532, at *1 (N.D. Ga. Sept. 5,




    6
      See also, e.g., Wilson v. Jacks, 310 So. 3d 545, 547 (Fla. 1st DCA 2021) (“[T]here is a substantial
    body of case law . . . determining that issues and claims not specifically pleaded in a party’s
    complaint or answer cannot be considered by a trial court reviewing a summary judgment motion.”
    (citing cases)); CH2M Hill Se., Inc. v. Pinellas Cnty., 598 So. 2d 85, 88 (Fla. 2d DCA 1992) (mem.)
    (“A plaintiff may not recover damages on a theory of liability not pled.”).
    7
      See also, e.g., Jackson v. H.L. Bouton Co., 630 So. 2d 1173, 1176 (Fla. 1st DCA 1994) (“One
    measure of the duty element of a negligence cause of action is the defendant’s actual or implied
    knowledge of a defect in items it has produced or sold.”); Ryan v. Atl. Fertilizer & Chem. Co., 515
    So. 2d 324, 326 (Fla. 3d DCA 1987) (“It is well settled law that a retailer can be liable in negligence
    in a products liability action only if the retailer can be charged with actual or implied knowledge
    of the defect.”).


                                                      -7-
Case 9:20-md-02924-RLR Document 7221 Entered on FLSD Docket 02/09/2024 Page 14 of 23




    2006) (denying remand where “Plaintiff has offered no evidence to rebut” the defendant’s evidence

    establishing fraudulent joinder). 8 Yet Plaintiff has supplied no such proof.

            The single case Plaintiff cites does not support his argument that Florida allows negligence

    claims based merely on participation in the chain of distribution. In K-Mart Corp. v. Chairs, Inc.,

    506 So. 2d 7, 9 (Fla. 5th DCA 1987)—cited at Mot. at 5— after a jury returned a verdict against

    the retailer based on theories of strict liability and implied warranty, the retailer brought common

    law and contractual indemnification and statutory contribution claims against the manufacturer.

    The case did not involve a negligence claim at all, let alone a direct claim asserted by a plaintiff

    against a retailer.

            C.      Plaintiff Has No Intent to Prosecute His Claim Against Publix

            Publix is also fraudulently joined because Plaintiff has no real intent to pursue his

    negligence claim against it. See In re Briscoe, 448 F.3d 201, 216 (3d Cir. 2006) (“[J]oinder is

    fraudulent if there is . . . no real intention in good faith to prosecute the action against the

    defendant.” (quotation marks and citation omitted)). This basis for fraudulent joinder does not rest

    on the merits of the claim, i.e., whether the plaintiff could theoretically recover against the non-

    diverse defendant. Instead, under this alternative theory, courts will find fraudulent joinder

    “[w]here the plaintiff’s collective litigation actions, viewed objectively, clearly demonstrate a lack

    of good faith intention to pursue a claim to judgment against a non-diverse defendant.” Faulk v.

    Husqvarna Consumer Outdoor Prods. N.A., Inc., 849 F. Supp. 2d 1327, 1331 (M.D. Ala. 2012);



    8
      See also, e.g., Shannon, 610 F. App’x at 871 (affirming district court’s decision not to consider
    evidence supporting joinder of non-diverse defendant because it was submitted “for the first time
    in a motion for reconsideration after judgment was entered”); Whitehead ex. rel. Brooks v.
    Southerland, Inc., 2023 WL 2766012, at *6 (N.D. Ga. Mar. 31, 2023) (rejecting plaintiffs’ request
    for “more discovery to uncover additional evidence in support of their remand motion . . . [given]
    the extensive discovery that was [already] taken during the original action”).


                                                    -8-
Case 9:20-md-02924-RLR Document 7221 Entered on FLSD Docket 02/09/2024 Page 15 of 23




    In re Briscoe, 448 F.3d at 219 (courts can “look[] beyond the allegations” to see whether a

    plaintiff’s conduct is “consistent with an intention to actually proceed” against the non-diverse

    defendant (quotation marks and citation omitted)). Several district courts in this Circuit have

    recognized this no-intent-to-prosecute theory. See, e.g., Long, 2003 WL 25548421, at *2 (finding

    fraudulent joinder “because [plaintiffs] do not ‘inten[d]’ to pursue a judgment” (citing Triggs, 154

    F.3d at 1291)); Faulk, 849 F. Supp. 2d at 1331 (“[T]he Court also finds that remand is unwarranted

    because Plaintiff lacks a good faith intention to pursue his claims against [the non-diverse

    defendant].”). Although the Eleventh Circuit has yet to adopt this basis for fraudulent joinder, it

    has suggested that it would, stating in Triggs that the “plaintiff’s motivation for joining a defendant

    is not important as long as the plaintiff has the intent to pursue a judgment against the

    defendant.” Triggs, 154 F.3d at 1291 (emphasis added).

           Here, Plaintiff has made no genuine effort to prosecute his claim against Publix. Most

    critically, Plaintiff has not proffered any expert to testify as to Publix’s negligence, a legal

    prerequisite to prevailing on his claim. See supra pp. 6–7. The failure to even attempt to supply

    viable expert testimony to support claims against Publix is stark evidence of Plaintiff’s lack of

    intent to prosecute those claims to judgment. Cf. Davis v. Merck & Co., 357 F. Supp. 2d 974, 979

    (E.D. Tex. 2005) (upholding removal and concluding that plaintiff’s failure to file an expert report

    “leads to the conclusions that she never intended to pursue . . . her claims against [the non-diverse

    defendant]”).

           Nor has Plaintiff taken meaningful fact discovery of Publix relevant to his negligent storage

    and transport claim. In determining intent, courts frequently look at the extent to which plaintiff




                                                     -9-
Case 9:20-md-02924-RLR Document 7221 Entered on FLSD Docket 02/09/2024 Page 16 of 23




    has sought discovery as to the non-diverse defendant. 9 Here, Plaintiff served a single set of

    interrogatories and document requests, which Publix answered by producing no documents and

    instead referring to materials produced in this MDL.

           Acknowledging he did nothing in this case, Plaintiff argues that it was sufficient to rely on

    MDL discovery of Publix, see Mot. at 6, but this bald assertion lacks any explanation or support.

    Critically, Plaintiff does not explain how the MDL discovery remedies his failure to adduce expert

    proof against Publix in this case. For example, in a single sentence, Plaintiff asserts that “Publix

    produced a corporate witness, Kevin Routh, to testify on issues of topics of distribution and storage

    in the Zantac MDL case.” Mot. at 11. However, Plaintiff did not attach Mr. Routh’s deposition

    transcript or cite to any specific testimony, did not explain how the testimony is relevant to

    Plaintiff’s claim, and did not explain how the testimony dispenses of the need to produce expert

    evidence against Publix.

           To be clear, the MDL discovery that Plaintiff seeks to rely upon failed to establish a viable

    negligent storage and transport claim before this Court. Mot. at 10. In this MDL, the plaintiffs’

    leadership filed a master complaint, which among other things, asserted a negligent storage and

    transport claim against various retailer defendants. This Court dismissed that claim, expressing

    skepticism about whether plaintiffs could “plead in good faith that any Defendant had a policy to


    9
      See, e.g., In re Avandia Mktg., Sales Pracs & Prods. Liab. Litig., 2014 WL 2011597, at *3 (E.D.
    Pa. May 15, 2014) (finding plaintiffs had no intent to pursue judgment against non-diverse
    defendant where plaintiffs failed to “conduct sufficient discovery to establish that individual
    plaintiffs had used [the product] distributed by [the non-diverse defendant]”); In re Zoloft
    (Sertraline Hydrochloride) Prods. Liab. Litig., 257 F. Supp. 3d 717, 720–21 (E.D. Pa. 2017)
    (denying remand where none of the plaintiffs “propounded meaningful discovery on [non-
    diverse]” distributor); In re Diet Drugs (Phentermine, Fenfluramine, Dexfenfluramine) Prods.
    Liab. Litig., 220 F. Supp. 2d 414, 421 (E.D. Pa. 2002) (denying remand where “no depositions of
    any witnesses affiliated with [non-diverse] defendant [were] taken”); Bennett v. Ford Motor Co.,
    2007 WL 4561281, at *3 (W.D. Ky. Dec. 21, 2007) (denying remand where “[t]he record reveals
    little attempt, if any, to develop a case against [the non-diverse defendant]”).


                                                   - 10 -
Case 9:20-md-02924-RLR Document 7221 Entered on FLSD Docket 02/09/2024 Page 17 of 23




    store ranitidine products at temperatures above those approved by the FDA” and noting that

    whether “individual stores negligently stored ranitidine at unsafe, heated temperatures . . . [is an]

    individualized and fact-specific” inquiry. In re Zantac (Ranitidine) Prods. Liab. Litig., 510 F.

    Supp. 3d 1234, 1256 (S.D. Fla. 2020) (last emphasis added). The MDL plaintiffs attempted to re-

    plead that claim, and after an opportunity for discovery, this Court dismissed the negligence claim

    again. Because “it is lawful for a room-temperature drug to be subject to elevated temperatures,

    within certain limitations,” general allegations that a retailer failed to control the temperature of

    ranitidine shipments could not “plausibly suggest[] a Defendant violated a duty of care.” In re

    Zantac (Ranitidine) Prods. Liab. Litig., 2021 WL 2685605, at *8 (S.D. Fla. June 30, 2021). Nor

    did the MDL plaintiffs plead any individualized facts, such as a claim that “one-off trucks or retail

    stores” improperly shipped or stored ranitidine. Id.

           Here too, Plaintiff failed to develop any such individualized evidence. Plaintiff’s one set

    of written discovery served on Publix, see Mot. at 10, did not seek information about the

    “individual stores” where he allegedly purchased ranitidine. For example, it did not ask for

    information about the individual stores’ storage conditions or the conditions in trucks used to

    supply those stores. Plaintiff’s failure to lift a finger in discovery to develop the negligent storage

    and transport claim beyond the failed MDL record strongly supports a finding that he had no real

    intent to prosecute his claim against Publix. 10




    10
       Plaintiff also points to Publix’s filing of “answers to the Second and Third Amended
    Complaints,” Publix’s response to Removing Defendants’ discovery, and Publix’s attendance at
    various depositions as evidence that he pursued his claims against Publix. See Mot. at 10, 11. That
    does not demonstrate Plaintiff’s intent to prosecute his negligence claim against Publix; it shows
    Publix’s necessary efforts to defend itself against Plaintiff’s nominal claim. For the same reasons,
    the Removing Defendants’ request for written discovery on Publix, see Mot. at 11 and [Dkt. 13-
    20], does not establish Plaintiff’s intent to prosecute his negligence claim against Publix.


                                                       - 11 -
Case 9:20-md-02924-RLR Document 7221 Entered on FLSD Docket 02/09/2024 Page 18 of 23




            Finally, Plaintiff’s voluntary dismissal of the other, diverse retailers further evinces

    Plaintiff’s lack of intent to prosecute a claim against Publix. Plaintiff claims that he purchased

    Zantac from three different retailers: Publix, Dollar General, and Walgreens. See supra p. 2. Yet

    Plaintiff dismissed identical negligence claims against the two diverse retailers Dollar General and

    Walgreens, see supra p. 1, leaving only non-diverse Publix. This underscores that Plaintiff has no

    real interest in obtaining a judgment against the retailers who sold ranitidine to Plaintiff, but

    maintained Publix as a defendant in the action only as a blatant attempt to defeat federal

    jurisdiction. There is no other explanation for Plaintiff’s actions, and Plaintiff provides none.

            D.      The Removal Is Timely

                    1.      The One-Year Bar on Removals Does Not Apply

            The one-year bar on removals does not apply because Plaintiff “has acted in bad faith in

    order to prevent [] defendant[s] from removing the action.” 28 U.S.C. § 1446(c)(1). Plaintiff

    maintained the pretense of a claim against Publix until more than a year expired to prevent

    removal. Only after the close of fact discovery (where Plaintiff took no case-specific discovery of

    Publix) and after the Removing Defendants completed the depositions of Plaintiff’s experts (where

    the experts disclaimed having any opinion as to Publix) could the Removing Defendants prove

    fraudulent joinder. This is exactly the situation the “bad faith” exception was meant to address.

            To assess whether a plaintiff acted in bad faith, courts apply a two-step test. First, the

    court considers whether the plaintiff has “actively litigated against the removal-spoiling defendant

    . . . [e.g.,] taking discovery, negotiating settlement, seeking default judgments . . . . If the plaintiff

    did not actively litigate against the removal spoiler, then bad faith is established; if the plaintiff

    actively litigated against the removal spoiler, then good faith is rebuttably presumed.” Holland v.

    CSX Transp., Inc., 2021 WL 4448305, at *3 (S.D. W.Va. Sept. 28, 2021) (citing Aguayo v. AMCO

    Ins. Co., 59 F. Supp. 3d 1225, 1263 (D.N.M. 2014)).


                                                      - 12 -
Case 9:20-md-02924-RLR Document 7221 Entered on FLSD Docket 02/09/2024 Page 19 of 23




           Here, the Court can easily presume bad faith based on Plaintiff’s failure to prosecute his

    claim against Publix. See supra pp. 9–13. Plaintiff failed to submit any expert testimony

    whatsoever to support the claim, and failed to conduct any case-specific discovery. The recent

    decision in the Roundup litigation is instructive. See 11/8/2023 Order Denying Mot. to Remand,

    In re Roundup Prods. Liab. Litig. (Mistich), MDL No. 2741 (N.D. Cal. Nov. 8, 2023) [Dkt. 1-5].

    There, the plaintiffs served the non-diverse defendant “with requests for admissions,

    interrogatories, and requests for production,” but when the defendant failed to respond, the

    plaintiffs—like Plaintiff here—“never meaningfully followed up.” Id. at *2. Nor did the plaintiffs

    attempt to depose the non-diverse defendant. Id. at *3. On these facts, the court found fraudulent

    joinder and declined to apply the one-year bar for removal. 11

           Second, even if there is some active litigation against the non-diverse defendant, the

    defendant can still “rebut the good-faith presumption with direct evidence of the plaintiff’s

    subjective bad faith.” Holland, 2021 WL 4448305, at *3 (citing Aguayo, 59 F. Supp. 3d at 1263).

    The record here presents direct evidence of bad faith. Plaintiff voluntarily dismissed retailers

    Dollar General and Walgreens, even though they were situated identically to Publix in this case,



    11
       See also, e.g., Keller Logistics Grp., Inc. v. Navistar, Inc., 391 F. Supp. 3d 774, 779–80 (N.D.
    Ohio 2019) (finding bad faith where the plaintiff served voluminous discovery on the diverse
    defendant but only minimal discovery on the non-diverse defendant); McNeal v. Found. Radiology
    Grp., P.C., 2022 WL 3010694, at *3 (E.D. Mich. July 29, 2022) (finding bad faith where “Plaintiff
    took little discovery from [the non-diverse defendant] and the discovery that he did take focused
    almost exclusively on [another defendant’s] conduct”); Bennett, 2007 WL 4561281, at *3 (the one-
    year bar on removal does not apply, because plaintiffs failed to “put forth any facts supporting the
    claim against the nondiverse defendant”); Cousins v. Wyeth Pharm., Inc., 2008 WL 1883932, at
    *2 (N.D. Tex. Apr. 18, 2008) (equitably tolling the one-year deadline, because the plaintiff
    “ignored a statute requiring her to serve expert reports against the nondiverse defendants”); In re
    Propulsid Prods. Liab. Litig., 2007 WL 1668752, at *1 (E.D. La. June 6, 2007) (refusing to apply
    the one-year bar, because plaintiff had “served no discovery on [the non-diverse defendants], none
    of their depositions were ever taken, and the Plaintiff never identified any experts to offer opinions
    again[st] them”).


                                                    - 13 -
Case 9:20-md-02924-RLR Document 7221 Entered on FLSD Docket 02/09/2024 Page 20 of 23




    save for their citizenship. See supra p. 1. Leaving Publix as the sole diversity-destroying

    defendant under these circumstances is a red flag signaling bad faith. The “bad faith” exception

    to the one-year removal bar accordingly applies.

            Ingram v. Forbes Co., 2013 WL 1760202 (M.D. Fla. Apr. 24, 2013), does not support

    Plaintiff’s untimeliness argument. Mot. at 8–9. In that case, the defendants argued that the store

    manager in a slip-and-fall case was fraudulently joined. Ingram, 2013 WL 1760202, at *3.

    However, the “manager was an employee of one of the Defendants and it was likely within

    Defendants’ knowledge whether she had any personal participation in Plaintiff’s alleged injury.”

    Id. On those facts, where defendants could have ascertained removability earlier, “principles of

    equity favor[ed] remand.” Id. That is a far cry from the facts here. Whether Plaintiff chose to

    develop fact or expert evidence to prosecute his claim is wholly outside the Removing Defendants’

    control. The Removing Defendants removed this case as soon as the record became clear that

    Plaintiff could not possibly meet his burden of proof against Publix, and could not have removed

    this case any earlier.

                    2.       The Removal Was Timely Filed Within 30 Days of Plaintiff’s Experts’
                             Depositions

            The Removing Defendants timely removed this action “within thirty days after receipt . . .

    of a copy of an . . . other paper from which it may first be ascertained that the case is one which is

    or has become removable.” 28 U.S.C. § 1446(b)(3). The last of Plaintiff’s causation experts, Dr.

    Conry, was deposed on November 14, 2023. At that deposition, Dr. Conry was asked if he

    intended to offer any opinion as to Publix, and he replied “no.” See supra p. 4. The case became

    removable at that point, and the Removing Defendants removed the case within thirty (30) days

    of that deposition.




                                                    - 14 -
Case 9:20-md-02924-RLR Document 7221 Entered on FLSD Docket 02/09/2024 Page 21 of 23




           Plaintiff argues that the removal was three months too late, because the Removing

    Defendants should have known at the time of expert disclosures (in September 2023) that no

    opinions were being offered as to Publix. Mot. at 11. But the Removing Defendants could not

    establish there was “no possibility” of an opinion against Publix—the level of certainty needed for

    removal—until expert depositions were taken. Unlike in federal court, Florida state courts do not

    strictly hold experts to the four corners of their reports but permit supplementation with deposition

    testimony. For example, in Klose v. Coastal Emergency Services of Fort Lauderdale, Inc., the

    trial court excluded plaintiff’s expert from testifying as to the alleged breach of care during a

    bronchoscopy procedure, which was not disclosed prior to the expert’s deposition. 673 So. 2d 81,

    83 (Fla. 4th DCA 1996). The Fourth District Court of Appeal reversed after a full trial because

    the expert “was nevertheless deposed on his opinion of the breach of the standard of care during

    the bronchoscopy.” Id. 12

           In fact, to avoid exactly this sort of supplementation-by-testimony, the Removing

    Defendants proposed to Plaintiff in April 2023 that each side serve federal-style expert reports that

    contain “a complete statement of all opinions the witness will express and the basis and reasons

    for them; [and] the facts or data considered by the witness in forming them,” and that to the extent

    disputes about their adequacy arise, “the body of case law under FRCP 26(a)(2)(B) will

    apply.”4/12/2023 e-mail from K. Marshall to S. Resnick (Ex. 1) (emphasis added). Plaintiff



    12
      See also, e.g., Ganey v. Goodings Million Dollar Midway, Inc., 360 So. 2d 62, 63 (Fla. 1st DCA
    1978) (rejecting defendant’s argument that it was “surprised by the [expert’s] trial testimony of
    permanent disability because at no time during pretrial discovery did the [expert] indicate or imply
    that [plaintiff] suffered a permanent disability”; plaintiff “alleged in her complaint that her injuries
    were permanent” and defendant therefore should have asked “during the deposition . . . if [plaintiff]
    suffered a permanent disability”); Wax v. Tenet Health Sys. Hosps., Inc., 955 So. 2d 1, 4 (Fla. 1st
    DCA 2006) (“We do not think that these designations of the substance of testimony in pretrial
    notices of experts should be subjected to literalistic, mechanical or crabbed readings.”).


                                                     - 15 -
Case 9:20-md-02924-RLR Document 7221 Entered on FLSD Docket 02/09/2024 Page 22 of 23




    rejected the proposal. See 4/13/2023 e-mail from S. Resnick to K. Marshall (Ex. 1). Plaintiff’s

    own unwillingness to agree to the application of federal law to the adequacy of expert reports thus

    made it impossible for the Removing Defendants to know the full scope of Plaintiff’s expert

    opinions until their depositions concluded in December 2023. Plaintiff’s disclosure of experts,

    accordingly, did not trigger removal.

           E.      Attorneys’ Fees and Costs Are Not Warranted Because the Removing
                   Defendants Had an Objectively Reasonable Basis to Remove

           There is no basis to award fees and costs here. As explained above, the Removing

    Defendants’ jurisdictional arguments are meritorious. Even if the Court disagrees, they are at bare

    minimum “objectively reasonable.” Martin v. Franklin Cap. Corp., 546 U.S. 132, 141 (2005); see

    supra pp. 5–9 (discussing case law to support a finding that Publix is fraudulently joined). The

    Court should accordingly deny the request for fees and costs.

    IV.    CONCLUSION

           The Court should deny Plaintiff’s Motion to Remand and request for fees and costs.



                                                 Respectfully submitted,

                                                            /s/ Anand Agneshwar
                                                           Anand Agneshwar
                                                           ARNOLD & PORTER
                                                           KAYE SCHOLER LLP
                                                           250 West 55th Street
                                                           New York, NY 10019
                                                           Tel: (212) 836-8000; Fax: (212) 836-8689
                                                           anand.agneshwar@arnoldporter.com
                                                           Attorney for Defendants Sanofi US Services
                                                           Inc., Sanofi-Aventis U.S. LLC,




                                                  - 16 -
Case 9:20-md-02924-RLR Document 7221 Entered on FLSD Docket 02/09/2024 Page 23 of 23




                                                             /s/ _Andrew T. Bayman__
                                                             Andrew T. Bayman
                                                             KING & SPALDING LLP
                                                             1180 Peachtree Street, NE, Suite 1600
                                                             Atlanta, Georgia 30309
                                                             Tel: (404) 572-3583; Fax: (404) 572-5100
                                                             abayman@kslaw.com
                                                             Attorney for Defendant Boehringer
                                                             Ingelheim Pharmaceuticals, Inc.

                                                             /s/ _Mark Cheffo______
                                                             Mark Cheffo
                                                             DECHERT LLP
                                                             Three Bryant Park
                                                             1095 Avenue of the Americas
                                                             New York, NY 10019
                                                             Tel: (212) 689-3500; Fax: (212) 689-3590
                                                             mark.cheffo@dechert.com
                                                             Attorney for GlaxoSmithKline LLC

                                                             /s/ __Joseph G. Petrosinelli______
                                                             Joseph G. Petrosinelli
                                                             WILLIAMS & CONNOLLY LLP
                                                             680 Maine Avenue, SW
                                                             Washington, DC 20024
                                                             Tel: (202)-434-5000; Fax: (202)-434-5029
                                                             jpetrosinelli@wc.com
                                                             Attorney for Defendant Pfizer Inc.

                                           CERTIFICATE OF SERVICE

            I hereby certify that on this 9th day of February, 2024, the foregoing was filed electronically

    through the Court’s CM/ECF system, which will send notice of filing to all CM/ECF participants.

                                                             /s/ Joanne M. O’Connor
                                                             Joanne M. O’Connor
                                                             JONES FOSTER, P.A.
                                                             505 South Flagler Drive, Suite 1100
                                                             West Palm Beach, FL 33401
                                                             Tel: (561) 659-3000; Fax: (561) 650-5300
                                                             JOConnor@jonesfoster.com

    P:\DOCS\30916\00001\PLD\29F5327.DOCX




                                                    - 17 -
